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 UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


                  3089
 MDL No.                                      & TITLE - IN RE: Oral Phenylephrine Mktg. & Sales Pracs. Litig.


                                                      NOTICE OF APPEARANCE
                          Appearances should only be entered in compliance with Rule 4.1(c).

 PARTIES REPRESENTED (indicate plaintiff or defendant--attach list if more than one
 action):

Albertsons Companies, Inc.



 SHORT CASE CAPTION(s) (Include District(s), Civil Action No(s).-- attach list if more
 than one action):

Pack, et al. v. Johnson & Johnson Consumer Companies Inc., et al. No. 2:23-cv-01965 (E.D. Cal.)


                              *****************************************************

         In compliance with Rule 4.1(c), the following designated attorney is authorized to file and
 receive service of all pleadings, notices, orders, and other papers relating to practice before the
 Judicial Panel on Multidistrict Litigation on behalf of the plaintiff(s)/ defendant(s) indicated. I am
 aware that only one attorney can be designated for each party.
                 October 4, 2023                                                 /s/ Amanda Groves

                                  Date                                                               Signature of Attorney or Designee

 Name and Address of Designated Attorney:

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 Instructions:

 1. From the JPM L home page, download Notice of Appearance. Fill out form and save in .pdf format. (All documents filed with the Judicial Panel must be in PDF Format.)
 The Appearance Form is to be filed as the main PDF document. Any documents submitted with the Appearance Form are attachments.
 2. Select M DL from the menu bar at the top of the E CF screen.
 3. Click on N otices. Select the appropriate Notice of Appearance. Select Next.
 4. Enter the three or four digit M DL number (ex. 875). Select Next.
 5. Verify M DL number, if correct Select Next.
 6. Choose the case(s) for which the Appearance is being filed. Select Next.
 7. Select Party. Select next twice.
 8. Upload the Appearance Form as the M ain document and all other documents as attachments. Be sure to choose a category and description. Select the document to which
 the Appearance relates. (N ote: Appearances filed in new litigations will be linked to the initial M otion for Transfer and Appearances filed in transferred litigations should be
 linked to the Conditional Transfer Order (CTO).
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                                                                                                                                                               JPML Form 18
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                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION


 IN RE: ORAL PHENYLEPHRINE                                    MDL No. 3089
 MARKETING AND SALES PRACTICES
 LITIGATION


                                      PROOF OF SERVICE

       I, Amanda Groves, counsel for Defendant Albertsons Companies, Inc., hereby certify

that on October 4, 2023, 2023, I caused the foregoing Notice of Appearance and this Proof of

Service to be electronically filed with the Clerk of the Panel using the CM/ECF system, which

constitutes service of pleadings on registered CM/ECF participants via this Panel’s ECF filing

system pursuant to Rule 4.1(a) of the Rules of Procedure of the United States Judicial Panel on

Multidistrict Litigation. I further will cause the Notice of Appearance to be served via electronic

mail or first-class mail to the following:

Pack, et al. v. Johnson & Johnson Consumer Cos., Inc., et al., No. 2:23-cv-01965 (E.D. Cal.)

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 Dated: October 4, 2023                    Respectfully submitted,


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